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              IN THE UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF GEORGIA
                        ATLANTA DIVISION

MARCIA G. FLEMING, CASEY
FREEMAN, DAVID GUYON, ANTHONY
LOSCALZO, PATRICK ROSEBERRY,
and JULIO SAMANIEGO individually, on           Civil Action File
behalf of the Rollins, Inc. 401(k) Savings     No. 1:21-cv-05343-ELR
Plan and on behalf of all similarly situated
participants and beneficiaries of the Plan,

      Plaintiffs,                              DECLARATION OF
v.                                             MICHAEL CAREY IN
                                               SUPPORT OF THE
ROLLINS, INC.; THE                             ROLLINS DEFENDANTS’
ADMINISTRATIVE COMMITTEE OF                    MOTION TO DISMISS
THE ROLLINS, INC. 401(k) SAVINGS               FIRST AMENDED
PLAN, BOTH INDIVIDUALLY AND AS                 COMPLAINT
THE DE FACTO INVESTMENT
COMMITTEE OF THE ROLLINS, INC.
401(K) SAVINGS PLAN; EMPOWER
RETIREMENT, LLC F/K/A
PRUDENTIAL INSURANCE AND
ANNUITY COMPANY; PRUDENTIAL
BANK & TRUST, FBS, AS DIRECTED
TRUSTEE OF THE ROLLINS, INC.
401(K) PLAN TRUST; ALLIANT
INSURANCE SERVICES, INC.;
ALLIANT RETIREMENT SERVICES,
LLC; LPL FINANCIAL LLC; PAUL E.
NORTHEN, JOHN WILSON, JERRY
GAHLHOFF, JAMES BENTON and A.
KEITH PAYNE in their capacities as
members of the Administrative Committee;
and John and Jane Does 1-10,

      Defendants.
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     Pursuant to 28 U.S.C. § 1746, I, Michael Carey, declare and state as follows:

1.   I am over 21 years of age and am competent to give this Declaration. I am

     an attorney with Bryan Cave Leighton Paisner LLP (“BCLP”), counsel for

     the Rollins Defendants in this action.

2.   I submit this declaration in support of the Rollins Defendants’ Motion to

     Dismiss First Amended Complaint. I have personal knowledge of the

     following facts and, if called and sworn as a witness, could and would testify

     competently thereto.

3.   Attached hereto as Exhibit 1 is a true and correct copy of a letter from Paul

     Sharman on behalf of the Plaintiffs in this action to W. Bard Brockman of

     BCLP, dated December 10, 2020, requesting that the Administrative

     Committee (“Committee”) of the Rollins 401(k) Savings Plan (“Plan”)

     adjudicate certain enumerated administrative claims (the “Claims”).

4.   Attached hereto as Exhibit 2 is a true and correct copy of a letter from Eddie

     Northen, Chairman of the Committee, to Mr. Sharman, dated December 21,

     2020, regarding the Claims.

5.   Attached hereto as Exhibit 3 is a true and correct copy of a letter from Mr.

     Northen to Mr. Sharman, dated March 1, 2021, informing Mr. Sharman of

     the result of the Committee’s adjudication of the Claims.


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6.   Attached hereto as Exhibit 4 is a true and correct copy of a letter from Mr.

     Sharman to Mr. Northen, dated March 9, 2021, submitting an administrative

     appeal on behalf of the Plaintiffs, regarding each of the Claims.

7.   Attached hereto as Exhibit 5 is a true and correct copy of an email dated

     March 19, 2021 from Mr. Brockman to Mr. Sharman and Jon Pels, who also

     represents the Plaintiffs in this action, transmitting a copy of the

     administrative record relating to the Claims.

8.   Attached hereto as Exhibits 6 through 37 are true and correct copies of the

     documents transmitted in connection with Mr. Brockman’s March 19, 2021

     email (Exhibit 5). These documents constitute the administrative record

     referred to in the Rollins Defendants’ motion to dismiss and supporting

     brief:

        a. Exhibit 6 is a memorandum dated February 15, 2021 from BCLP to

              the Committee, bates numbered ROLLINS_0000001 through

              0000015, in connection with the Committee’s review of the Claims.

              The memorandum is accompanied by two tables prepared by BCLP,

              bates numbered ROLLINS_0000016 through ROLLINS_0000018,

              compiling and summarizing data (expense ratios and 1-year, 5-year

              and 10-year performance versus benchmark) regarding the Plan


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     investments described in the Complaint during the years 2012 through

     2020.

  b. Exhibit 7 is a compilation of minutes from Committee meetings held

     between May 20, 2009 and November 10, 2020, bates numbered

     ROLLINS_0000019 through 0000228. Exhibit 7 is identical to the

     document marked Exhibit 2 to the Complaint (ECF 1-2).

  c. Exhibit 8, bates numbered ROLLINS_0000229 through 0000419, is

     an exemplar “book” of meeting materials shared with Committee

     members in advance of a Committee meeting, as described more fully

     in Exhibit 6 at ROLLINS_0000005.

  d. Exhibit 9 is a copy of the Plan’s Investment Policy Statement as of

     February 23, 2018, bates numbered ROLLINS_0000420 through

     0000422. Exhibit 9 is identical to the document marked Exhibit 5 to

     the Complaint (ECF 1-5) and Exhibit 3 to the FAC (ECF 53-3).

  e. Exhibit 10 is a copy of the amended and restated Plan document

     effective February 1, 2015, bates numbered ROLLINS_0000423

     through 0000511. Exhibit 10 is identical to the document marked

     Exhibit 1 to the Complaint (ECF 1-1) and Exhibit 1 to the FAC (ECF

     53-1).


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  f. Exhibit 11 is a copy of the Rollins 401(k) Savings Plan Prospectus

     dated January, 2020, bates numbered ROLLINS_0000512 through

     0000519.

  g. Exhibits 12 through 17 are the publicly filed Form 5500s for the Plan

     for the years 2014 through 2019:

          Exhibit    Year        Beginning Bates

          12         2014        ROLLINS_0000520

          13         2015        ROLLINS_0000561

          14         2016        ROLLINS_0000602

          15         2017        ROLLINS_0000642

          16         2018        ROLLINS_0000682

          17         2019        ROLLINS_0000723



  h. Exhibits 18 through 26 are the Plan’s 404(a) fee disclosures to

     participants for the years 2012 through 2020:

          Exhibit    Year        Beginning Bates

          18         2012        ROLLINS_0000762

          19         2013        ROLLINS_0000772




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          20         2014        ROLLINS_0000783

          21         2015        ROLLINS_0000794

          22         2016        ROLLINS_0000806

          23         2017        ROLLINS_0000818

          24         2018        ROLLINS_0000830

          25         2019        ROLLINS_0000840

          26         2020        ROLLINS_0000853



  i. Exhibits 27 through 35 are Prudential’s 408(b)(2) disclosures to the

     Plan for the years 2012 through 2020:

          Exhibit    Year        Beginning Bates

          27         2012        ROLLINS_0000859

          28         2013        ROLLINS_0000904

          29         2014        ROLLINS_0000984

          30         2015        ROLLINS_0001096

          31         2016        ROLLINS_0001128

          32         2017        ROLLINS_0001160

          33         2018        ROLLINS_0001176




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                   34         2019        ROLLINS_0001258

                   35         2020        ROLLINS_0001326



          j. Exhibit 36 is a copy of the Plan’s services agreement with Prudential,

             bates numbered ROLLINS_0001342 through 0001421. Exhibit 36 is

             identical to the document marked Exhibit 3 to the Complaint (ECF 1-

             3).

          k. Exhibit 37 is a slide presentation dated February 19, 2021, prepared

             by BCLP for the Committee in connection with the Committee’s

             review of the Claims, bates numbered ROLLINS_0001422 through

             0001436.

9.    Exhibit 38 is a true and correct copy of a letter from Mr. Northen to Mr.

      Sharman dated May 6, 2021, informing Mr. Sharman of the Committee’s

      final adjudication of the Plaintiffs’ appeal.

10.   Exhibit 39 is a true and correct copy of the publicly filed Form 5500 for the

      Plan for the year 2020.

      I declare under penalty of perjury under the laws of the United States that

the foregoing is true and correct.




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